           Case 2:06-cr-00391-RSL         Document 18         Filed 11/01/06    Page 1 of 2




01

02

03

04

05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )
09                                        )            Case No. 06-583M
           v.                             )
10                                        )            DETENTION ORDER
                                          )
11   ALEJANDRO CORONA-SANCHEZ,            )
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses Charged:

15          Count 1:    Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C.

16 §§ 841(a)(1), 841(b)(1)(A), and 846.

17          Count 4: Possession with Intent to Distribute Methamphetamine in violation of 21

18 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 18 U.S.C. § 2.

19 Date of Detention Hearing: November 1, 2006.

20          The Court, conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based

21 upon the factual findings and statement of reasons for detention hereafter set forth, finds:

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     Pursuant to 18 U.S.C. § 3142(e), there is presumption of detention.

24          (2)     Defendant is a citizen of Mexico and has no established ties to this community

25 or to the Western District of Washington.

26          (3)     Defendant has prior failures to appear.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
          Case 2:06-cr-00391-RSL          Document 18        Filed 11/01/06      Page 2 of 2




01          (4)    Defendant has stipulated to detention but reserves the right to contest his

02 continued detention if there is a change in circumstances.

03          (5)    There appear to be no conditions or combination of conditions other than

04 detention that will reasonably assure the defendant’s appearance at future Court hearings.

05          IT IS THEREFORE ORDERED:

06          (1)    Defendant shall be detained pending trial and committed to the custody of the

07                 Attorney General for confinement in a correction facility separate, to the extent

08                 practicable, from persons awaiting or serving sentences or being held in custody

09                 pending appeal;

10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

11                 counsel;

12          (3)    On order of a court of the United States or on request of an attorney for the

13                 government, the person in charge of the corrections facility in which defendant

14                 is confined shall deliver the defendant to a United States Marshal for the purpose

15                 of an appearance in connection with a court proceeding; and

16          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

17                 counsel for the defendant, to the United States Marshal, and to the United States

18                 Pretrial Services Officer.

19          DATED this 1st day of November, 2006.



                                                         A
20

21
                                                         JAMES P. DONOHUE
22                                                       United States Magistrate Judge
23

24

25

26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
